                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION



UNITED STATES OF AMERICA,                             :

                      Plaintiff,                      :    Case No. 3:11-CR-80

       v.                                             :    Judge Thomas M. Rose

CAROL A. WILSON,

                      Defendant.                      :


                    SENTENCING HEARING NOTICE AND ORDER

       This case is scheduled for a sentencing hearing on October 14, 2011 at 10:30 a.m. in

Courtroom 2, United States Courthouse, Dayton, Ohio, before Judge Thomas M. Rose.

       Title 18 U.S.C. § 3553(a) lists the following factors which must be considered in

determining a reasonable sentence in each case:

              a) Factors to be considered in imposing a sentence.--The court
              shall impose a sentence sufficient, but not greater than necessary,
              to comply with the purposes set forth in paragraph (2) of this
              subsection. The court, in determining the particular sentence to be
              imposed, shall consider--

                 (1) the nature and circumstances of the offense and the history
                 and characteristics of the defendant;

                 (2) the need for the sentence imposed--

                    (A) to reflect the seriousness of the offense, to promote
                    respect for the law, and to provide just punishment for the
                    offense;

                    (B) to afford adequate deterrence to criminal conduct;


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   (C) to protect the public from further crimes of the
   defendant; and

   (D) to provide the defendant with needed educational or
   vocational training, medical care, or other correctional
   treatment in the most effective manner;

(3) the kinds of sentences available;

(4) the kinds of sentence and the sentencing range established
for--

   (A) the applicable category of offense committed by the
   applicable category of defendant as set forth in the
   guidelines--

      (i) issued by the Sentencing Commission pursuant to
      section 994(a)(1) of title 28, United States Code, subject
      to any amendments made to such guidelines by act of
      Congress (regardless of whether such amendments have
      yet to be incorporated by the Sentencing Commission into
      amendments issued under section 994(p) of title 28); and

      (ii) that, except as provided in section 3742(g), are in
      effect on the date the defendant is sentenced; or

   (B) in the case of a violation of probation or supervised
   release, the applicable guidelines or policy statements issued
   by the Sentencing Commission pursuant to section 994(a)(3)
   of title 28, United States Code, taking into account any
   amendments made to such guidelines or policy statements by
   act of Congress (regardless of whether such amendments
   have yet to be incorporated by the Sentencing Commission
   into amendments issued under section 994(p) of title 28);

(5) any pertinent policy statement--

   (A) issued by the Sentencing Commission pursuant to
   section 994(a)(2) of title 28, United States Code, subject to
   any amendments made to such policy statement by act of
   Congress (regardless of whether such amendments have yet


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                     to be incorporated by the Sentencing Commission into
                     amendments issued under section 994(p) of title 28); and

                     (B) that, except as provided in section 3742(g), is in effect on
                     the date the defendant is sentenced.

                  (6) the need to avoid unwarranted sentence disparities among
                  defendants with similar records who have been found guilty of
                  similar conduct; and

                  (7) the need to provide restitution to any victims of the offense.

       Under the law announced by the Supreme Court on January 12, 2005, in United States v.

Booker, -- U.S. --, 125 S.Ct. 738 -- L.Ed.2d – (2005), the Sentencing Guidelines are no longer

required to be applied, but the guidelines, nevertheless must be considered, together with all of

the other factors enumerated in 18 U.S.C. § 3553(a).

       The PSI report contains the Probation Officer’s conclusions regarding the application of

the guidelines, and if the parties had any objections to the PSI report or the Probation Officer’s

applications, those objections should have been filed in accordance with Local Rule 32.1(c) and

will be heard in the same manner as they were heard pre-Booker. Any motions for departures

based on recognized guideline departures should also be filed and will be heard at the sentencing

hearing. In short, the procedures used to determine a correct sentencing guideline range will

continue in the same manner as they existed pre-Booker.

       If either party is of the opinion that a reasonable sentence would require a deviation from

the imprisonment range, i.e., a sentence other than a sentencing resulting from an application of

the sentencing guidelines, that party is ordered to file a Sentencing Memorandum, setting forth in

detail the reasons why the imprisonment range under a guideline application should not be

followed in this case, with particular reference to the other factors enumerated in 18 U.S.C.


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§ 3553(a).

       Any Sentencing Memorandum must be filed no later than 7 business days following the

final disclosure of the presentence investigation report. If the other party opposes the Sentencing

Memorandum, the opposing party shall file a Response to Sentencing Memorandum no later than

5 business days following the receipt of the Sentencing Memorandum. If the Court desires any

further memoranda or a continuation of the sentencing hearing, the parties will be so notified.

       IT IS SO ORDERED.




Date: July 13, 2011                                  s/ Thomas M. Rose
                                                     Thomas M. Rose, Judge
                                                     United States District Court




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